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                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAI‘I


UNITED STATES OF AMERICA,             )     Cr. No. 23-00041SOM
                                      )
      Plaintiff,                      )     Defendant’s Sentencing
                                      )     Memorandum
             vs.                      )
                                      )     Exhibit A
ALDEN BUNAG,                          )
                                      )     Certificate of Service
      Defendant.                      )
                                      )
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                                     INTRODUCTION
         Thirty-five-year-old Alden Bunag faces sentencing for one count of Production

of Child Pornography in violation of 18 USC § 2251(a). Mr. Bunag requests that this

Honorable Court impose a sentence of 180 months, based on the factors outlined in

18 U.S.C. § 3553(a).

                                       ARGUMENT
I.       Given the Nature and Circumstances of Mr. Bunag’s Offense and His
         History and Characteristics, the Sentence Requested Is Sufficient,
         But Not Greater Than Necessary, to Satisfy the Purposes of
         Sentencing.
                              Youth and Young Adulthood
         Mr. Bunag is the middle child of three siblings born to the same parents. His

father is a retired career serviceman in the Air Force, and his mother is a stay-at-

home mom. Due to his father’s military career, the family frequently relocated, and

Mr. Bunag spent a significant part of his youth growing up in Germany.

         Growing up in a supportive and deeply religious family, Mr. Bunag’s

upbringing was influenced by their Christian Fundamentalist beliefs, particularly

regarding the condemnation of homosexuality. Faith, religious devotion, and

adhering to the values of the church played a significant role in his upbringing.

         When Mr. Bunag was around 12 years old, he stumbled upon a collection of

gay pornography. He really liked the gay porn, but due to the strict prohibition

against homosexuality from his church and his culture, he tried never to allow

himself to act on this interest.

         Mr. Bunag describes his sexual orientation as bisexual. His sexuality, and

viewing gay pornography, conflicted with the values he was taught to be considered

good and pure in this world. Experiencing tremendous guilt and disappointment in
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himself for these thoughts and desires, he believed that being attracted to someone

of the same sex was wrong. Unable to talk to anyone or share his struggles, he

suffered in silence.

      In an attempt to “purify” himself and eradicate what he deemed sinful

behavior, he stopped viewing pornography and tried to suppress any homosexual

feelings. Beyond this, he avoided engaging in any intimate relationships out of

fear that his perceived sin would resurface. He believed he had successfully “cured”

himself and continued with his life.

      In August 2004, Mr. Bunag and his family

relocated from Germany back to Hawai‘i and settled

in the Waikele area. He enrolled at Radford High

School, starting in the 11th grade and graduated

with his diploma in 2006.

      Post-graduation, Mr. Bunag attended Leeward Community College, initially

majoring in liberal arts. However, his career path shifted when he began working at

an afterschool program at a local elementary school during his fourth semester.

This change led him away from his own education for several years.

      By 2008, Mr. Bunag found himself working in various educational-related

positions, including continued employment with the Department of Education and

leadership roles in his church’s afterschool programs. In 2012, he became an

educational assistant at a local middle school, and aided special needs students with

their schoolwork. Resuming his college journey in 2014, he enrolled at the




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University of Hawai‘i in the School of Education, later switching majors to Creative

Media and graduating in 2016.

      Around this time, it became evident that Mr. Bunag’s belief that

homosexuality was evil or bad, and that the cure was complete abstinence, was

unhealthy. In 2015, his attempt at “purification” failed as he engaged in online

pornography and exchanged explicit photos with others. Although he had turned

away from his religion, his thought process remained influenced by its oppressive

shame-driven stances. Denied a normal outlet for sexual exploration during his

early pubescent years, he viewed his own homosexual desires as wrong, hindering

his proper maturation. Unfortunately, he never received any help to process this

significant trauma. It is with that backdrop that Mr. Bunag committed this offense.

       After committing the underlining offense, Mr. Bunag spiraled into profound

depression, grappling with the realization that his actions contradicted the

principals instilled in him. The weight of guilt and shame became overwhelming,

leaving him feeling trapped between the desire to confide in someone about what he

had done and the fear of the potential consequences.

      Over the subsequent five years, until his arrest, Alden sought solace and

redemption by centering his life around his family and

friends. As the sole remaining child residing with his

parents, he dedicated himself to providing care and support

for them, attempting to find a sense of purpose and healing

amidst the sins of his past.




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                        Bunag’s Acceptance of Responsibility

    “I, Alden Bunag, accept responsibility for the crimes that I have committed. I
 recognize the severely detrimental effects that my actions had on the victims, their
           families, and every student associated with me.” – Alden Buang

      Mr. Bunag’s offense of conviction is very serious, one for which he

acknowledges responsibility and recognizes the lasting trauma he inflicted upon

MV1. He sincerely regrets his actions.

      Upon being approached by agents investigating his connection with the

teacher in Pennsylvania, Mr. Bunag voluntarily disclosed information about his

involvement with the student. This act of confession demonstrates his

acknowledgement of the gravity of his actions and a genuine desire to confront the

consequences.

      Mr. Bunag is someone who strives to improve himself and the lives of those

around him each day. He does this through his own self-improvement and by giving

of his time, talents, and education to all those around him. He shared his passion

for photography and dance as an instructor, starting the after-school club.

Furthermore, he has continued to do this while incarcerated by helping other

incarcerated individuals study for the General Educational Development test and

with their performance at the FDC talent show.

                        Bunag’s Network of Family Support

 “ We love and support Alden. We are deeply sorry for his wrongs and mistakes and
 apologize to anyone or any family affected by these serious actions. We request your
           leniency and assistance with rehabilitation.” – Danilo T. Bunag




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        As noted in Mr. Bunag's Presentence Report (PSR), Mr. Bunag "has strong

family support .... [H]e was raised in a religious family with two loving parents." PSR

at 36, ,I2. His family is not in denial about Mr. Bunag's actions, or the harm that he

caused. But they do continue to support him and want to help provid e him the

treatment he need s to reintegrate back into the community safely after serving his

period of incarceration. As the PSR conclud es, this helps "lower the defendant's


likelihood of recidivism and suggest that he is amendable to rehabilitation." Id.


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II.   The Requested Sentence Avoids Unwarranted Disparities and
      Unwarranted Similarities

      This Court must consider the “need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of

similar conduct.” 18 U.S.C. § 3556(a)(6). The Judiciary Sentencing Information

(JSIN) is informative in this regard. According to JSIN, during the last five fiscal

years (FY2018-2022), there were 152 defendants whose primary guideline was

§2G2.1, with a Final Offense Level of 37 and a Criminal History Category of I, after

excluding those who received a §5K1.1 substantial assistance departure. For the

defendants who received a sentence of imprisonment, the average length of

imprisonment imposed was 195 months.




United States Sentencing Commission Judiciary Sentencing Information (JSIN),
https://jsin.ussc.gov/analytics/saw.dll?Dashboard.




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                                  CONCLUSION

      For the reasons stated herein and further at the upcoming sentencing hearing,

Mr. Bunag respectfully requests that the Court impose a sentence of 180 months

which reflects both the gravity of Mr. Bunag’s criminal conduct, and unique

mitigating factors.

      DATED: Honolulu, Hawai‘i, January 11, 2024.


                                       /s/ Jacquelyn T. Esser
                                      JACQUELYN T. ESSER
                                      Attorney for Defendant
                                      ALDEN BUNAG




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